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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

                                                :
Kimberly Bowie,                                 :
                                                :
                                                :
                        Plaintiff,              :
                                                  Civil Action No.: 2:14-cv-01244-CRE
       v.                                       :
                                                :
Ally Financial, Inc.; and DOES 1-10, inclusive, :
                                                                                                   (
                                                :
                                                                                                   D
                                                :
                                                                                                   R
                        Defendant.              :
                                                                                                   H
                                                :

                                 NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: January 21, 2015

                                                  Respectfully submitted,

                                                  PLAINTIFF, Kimberly Bowie

                                                  /s/ Jody B. Burton

                                                  Jody B. Burton, Esq.
                                                  Bar No.: 71681
                                                  LEMBERG LAW, L.L.C.
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                                                  jburton@lemberglaw.com
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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 21, 2015, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court Western District of
Pennsylvania Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Jody B. Burton_________

                                                     Jody B. Burton
